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                                    NOTICE OF HEARING




                  UNITED STATES DISTRICT COURT
                                        FOR THE
                                  DISTRICT OF VERMONT



United States of America

       v.                                          Case No. 2:22-cr-109-5

Michael Cotter



TAKE NOTICE that the above-entitled case has been scheduled at 01:30 p.m. on Tuesday,
February 20, 2024 in Burlington, Vermont, before Honorable Christina Reiss, District Judge, for
a Sentencing.


Location: Courtroom 510                                    JEFFREY S. EATON, Clerk
                                                           By: /s/ Lisa Wright
                                                           Deputy Clerk
                                                           10/13/2023

TO:

Zachary B. Stendig, AUSA

Mark D. Oettinger, Esq.

Court Reporter
